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                     IN THE UNITED STATES DISTRICT COURT

                   FOR THE WESTERN DISTRICT OF WISCONSIN

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APPLE, INC.,
                                                            OPINION and ORDER
                            Plaintiff,
                                                                 11-cv-178-bbc
              v.

MOTOROLA MOBILITY, INC.,

                            Defendant.

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

       This case originated in the International Trade Commission, where defendant

Motorola, Inc. filed an infringement action against plaintiff Apple, Inc. and is seeking an

exclusion order that would prevent Apple from selling its allegedly infringing products in the

United States. After the case had been pending for a few months in the Commission, Apple

filed 13 counterclaims against Motorola and removed the case to this court under 19 U.S.C.

§ 1337(c). In its counterclaims, Apple alleges that Motorola has engaged in a pattern of

unfair, deceptive and anticompetitive conduct by failing to timely disclose ownership of

patents that it now declares are essential to technological standards that have been adopted

by the industry and by failing to offer licenses to those patents on fair, reasonable and

nondiscriminatory terms.

       Now before the court is Motorola’s motion to dismiss Apple’s claims for lack of


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ripeness and for failure to state claims upon which relief may be granted. Dkt. #33. Also

before the court is Motorola’s motion to sever the claims in this case and consolidate them

with the claims in two other cases that are pending before this court. Dkt. #39.

       I conclude that Apple’s claims are ripe and that they are pleaded sufficiently. Thus,

I will deny Motorola’s motion to dismiss, with the exception of its motion to dismiss Apple’s

claim of waiver because waiver is an affirmative defense, not a cause of action. I also

conclude that severing this case would create inordinate complications and would not

promote judicial economy or efficiency. Accordingly, I will deny Motorola’s motion to sever

and consolidate the case.

       I draw the following facts from plaintiff Apple’s counterclaims. (Although Apple is

named as the plaintiff in this action, Apple’s claims are technically “counterclaims” because

it was the respondent in the International Trade Commission where it first filed these

counterclaims against Motorola.)




                                     BACKGROUND

       A. Wireless Communication Industry and Standards Setting Organizations

       Plaintiff Apple Inc. and defendant Motorola Mobility, Inc. are competitors in the

wireless communication industry. Motorola is the owner of several patents that it has

declared as being “essential patents” with respect to various technological standards set by

international standards setting organizations relevant to wireless communication devices.

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       Standards setting organizations play a significant role in the wireless technology

market by allowing companies to agree on common technological standards so that all

compliant products will work together.      Standards lower costs by increasing product

manufacturing volume and they increase price competition by eliminating “switching costs”

for consumers who desire to switch from products manufactured by one firm to those

manufactured by another.

       One complication with standards is that it may be necessary to use patented

technology in order to practice them. If a patent claims technology selected by a standards

setting organization, the patent is called an “essential patent.” In order to reduce the

likelihood that owners of essential patents will abuse their market power, many standards

setting organizations have adopted rules related to the disclosure and licensing of essential

patents.   The policies often require or encourage members of the standards setting

organization to identify patents that are essential to a proposed standard and to agree to

license their standard essential patents on fair, reasonable and non-discriminatory terms to

anyone who requests a license. (These terms are often referred to by the acronyms FRAND

or RAND.) Such rules help to insure that standards do not allow essential patent owners to

extort their competitors or prevent them from entering the marketplace.

       There are four standards setting organizations relevant to this case: The European

Telecommunications Standards Institute; the 3rd Generation Partnership Project, known as

3G; the Telecommunications Standards Institute; and the Institute of Electrical and

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Electronics Engineers. As discussed in more detail below, each of these standards setting

organizations have intellectual property rights policies that address disclosure and licensing

of patents essential to standards being considered or being adopted by the organizations.

At all relevant times, Motorola has been a member of several standards setting organizations,

including those relevant to this case.




                   B. Motorola’s Declarations of Essential Patents and

                          Commitments to License those Patents

       During the course of its participation in developing standards for the European

Telecommunications Standards Institute and the 3G Project, Motorola submitted

“declarations,” declaring that the ‘697, ‘559, ‘230 and ‘898 patents were essential or

potentially essential to the European Telecommunications Standards Institute’s standards,

including the Global System for Mobile Communications (known as the GSM standard),

Universal Mobile Telecommunications System (known as the UMTS standard) and 3G

Project standards. Motorola also declared that those four patents were essential to standards

that had already been adopted by the Institute and 3G Project. Motorola represented to the

Institute and the 3G Project that it would “grant irrevocable licences under the [intellectual

property rights] on terms and conditions which are in accordance with . . . the [Institute’s]

[intellectual property rights] Policy.” Apple’s Cpt., dkt. #1, ¶¶ 71-75.

       Additionally, Motorola declared the ‘223 patent essential to the 802.11 standard and

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submitted an Intellectual Property Statement to the Institute of Electrical and Electronics

Engineers, stating that Motorola agreed to license any patents essential to the 802.11

standard on a non-discriminatory basis offering fair and commercially reasonable terms. In

a Letter of Assurance for Essential Patent Claims dated June 14, 2007, Motorola declared

that the ‘712 patent and the ‘193 patent were essential to the practice of the 802.16e

standard. The 802.16e Letter of Assurance stated that Motorola was prepared to grant

licenses to an “unrestricted number of applicants on a worldwide, non-discriminatory basis

with reasonable terms and conditions.” Id. at ¶ 88.

       Finally, in a “Statement from the Patent Holder” to the Telecommunication Industry

Association, Motorola declared that the ‘697, ‘712 and ‘193 patents were essential to the

CDMA2000 standard. Motorola stated that it would make a license available for any

declared-essential patent “under reasonable terms and conditions that are demonstrably free

of any unfair discrimination” Id. at ¶ 99.




               C. Negotiations for Licensing between Apple and Motorola

       Apple’s original iPhone went on sale in June 2007. Apple’s original iPhone contained

an Infineon baseband chipset, which incorporated technology covered by patents that

Motorola has declared as essential. Apple purchased the Infineon baseband chipset through

a manufacturing agreement with Chi Mei Corporation, which manufactured the Infineon

baseband chipset under a licensing agreement with Motorola. On August 4, 2007, Motorola

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gave Chi Mei a 60-day suspension notice on its licensing agreement.

       In September 2007, representatives of Apple and Motorola met to discuss a licensing

agreement regarding Motorola’s declared-essential patents.     At the meeting, Motorola

demanded a royalty rate based on the total revenue of the covered devices. Apple believes

the rate is unreasonably high and that the value and contribution of the declared-essential

patents is disproportionate to the revenue received by Apple for sales of its products. In

addition, the demanded rate was higher than the rate Motorola has offered to other

competitors. The parties have negotiated on and off for three years but have been unable

to agree on licensing terms.




                  D. Motorola’s Termination of the Qualcomm License

       On December 16, 2009, Apple and Qualcomm entered into a contract whereby Apple

would purchase chipsets from Qualcomm that were compliant with the CDMA2000

standard. The chipsets incorporated technology that Qualcomm licensed from Motorola.

On January 11, 2011, on the day Apple announced the Verizon iPhone 4, Motorola notified

Qualcomm of its intent to terminate any and all license covenant rights with respect to

Qualcomm’s business with Apple, effective February 10, 2011.




                               PROCEDURAL HISTORY

                                    A. Related Cases

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       Three pending actions relate to the present case. First, there is the investigation

pending in the International Trade Commission that defendant Motorola initiated on

October 6, 2010. In the Matter of Certain Wireless Communication Devices, Portable

Music and Data Processing Devices, Computers and Components Thereof, ITC Investigation

No. 337-TA-745. In that case, Motorola is seeking an exclusion order and a permanent

cease and desist order as a result of plaintiff Apple’s alleged infringement of United States

Patent Nos. 6,272,333 (the ‘333 patent), 6,246,862 (the ‘862 patent), 5,359,317 (the ‘317

patent), 7,751,826 (the ‘826 patent), 6,246,697 (the ‘697 patent), and 5,636,223 (the ‘223

patent). As an affirmative defense to infringement, Apple contends that Motorola’s license

terms for its essential patent portfolio are not fair, reasonable and non-discriminatory. The

case is scheduled for a hearing in July 2011. The Commission has set a target date of March

8, 2012, at which time the Commission expects to complete its final review of the matter.

       The other two related cases are pending in this court. Plaintiff Apple filed case

number 10-cv-661-bbc on October 29, 2010, asserting patent infringement claims against

Motorola. On November 9, 2010, Motorola filed counterclaims in the ‘661 action alleging

infringement of the ‘317 patent, the ‘223 patent, the ‘697 patent, the ‘862 patent, the ‘333

patent and the ‘826 patent. These are the same patents at issue in the International Trade

Commission’s 337-TA-745 investigation. On December 2, 2010, this court granted the

parties’ joint motion to stay the ‘661 case in favor of the proceedings in the Commission.

       Also on October 29, 2010, plaintiff Apple filed case number 10-cv-662-bbc, asserting

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patent infringement claims against Motorola.        On November 9, 2010, Motorola filed

counterclaims against Apple for infringement of United States patent Nos. 5,311,516 (the

‘516 patent), 5,319,712 (the ‘712 patent), 5,490,230 (the ‘230 patent), 5,572,193 (the ‘193

patent), 6,175,559 (the ‘559 patent) and 6,359,898 (the ‘898 patent), all of which Motorola

has declared essential to certain standards. In that case, Apple contests whether the patents

are essential to standards it is practicing and contests the validity of the patents. One of

Apple’s affirmative defenses in that case is that Motorola’s license offer was not consistent

with its obligations to license the patents on fair, reasonable and non-discriminatory terms.

The ‘662 case is not stayed.




                           B. The Case at Issue (11-cv-178-bbc)

       In this case, Apple alleges that Motorola has engaged in a pattern of unfair, deceptive

and anticompetitive conduct by failing to timely disclose ownership of patents that it now

declares are essential to standards that have been adopted by the industry. The patents that

Motorola has declared essential are the ‘223, ‘697, ‘712, ‘230, ‘193, ‘559 and ‘898 patents.

Additionally, Apple contends that Motorola’s refusal to negotiate a license in good faith with

Apple for those declared-essential patents constitutes a breach of commitments Motorola

made to several standards setting organizations to license essential patents on fair, reasonable

and non-discriminatory terms. Apple also asserts claims against Motorola under the theory

of estoppel and waiver. Apple contends that by making commitments to the standards

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setting organizations, Motorola promised potential licensees that it would license its essential

patents on fair, reasonable and non-discriminatory terms.             Because wireless device

companies, like Apple, relied on its promise, Motorola is estopped to deny it.

       Also, Apple brings causes of action for tortious interference with a contract, unfair

competition and unlawful business practices and violation of Section 2 of the Sherman Act

for Motorola’s refusal to license fairly, its failure to disclose essential patents and its

interference with the contract between Apple and Qualcomm. Finally, Apple brings three

declaratory judgment claims, seeking declarations that (1) Motorola’s offers have not been

on fair, reasonable and non-discriminatory terms; (2) Motorola is not entitled to injunctive

relief in the event it prevails on any of its patent infringement claims; and (3) Motorola has

misused its patents.

       Shortly after Apple removed this case to federal court, it moved for preliminary

injunctive relief, seeking an order that would have enjoined Motorola from (1) proceeding

as a party in the 337-TA-745 investigation in the International Trade Commission with

respect to the ‘223 and ‘697 patents; (2) proceeding with its counterclaims filed in case

number 10-cv-662-bbc in this court with respect to the ‘712, ‘230, ‘193, ‘559 and ‘898

patents; and (3) selectively terminating its patent license agreement with Qualcomm as to

Apple. A hearing was held on the motion on April 26, 2011. At the conclusion of the

hearing, I denied Apple’s motion for a preliminary injunction because I did not see a

likelihood of success on the merits of its claims, did not think it appropriate to interfere with

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an International Trade Commission proceeding under the circumstances, did not think that

Apple had shown any irreparable harm and found that the public interest would be served

by allowing the International Trade Commission to proceed with its investigation and trial.

       While the parties were briefing Apple’s motion for a preliminary injunction, Motorola

filed a motion to dismiss Apple’s counterclaims, contending that certain of Apple’s claims

are not ripe and that all of Apple’s claims suffer from pleading problems. Dkt. #33. Also,

Motorola filed a motion to sever and consolidate the claims in this action with the ‘661 and

‘662 cases. Dkt. #39.




                                         OPINION

                                   A. Motion to Dismiss

1. Ripeness

       With the exception of its tortious interference claim, all of Apple’s counterclaims

focus on Motorola’s alleged commitments to license its essential patents to Apple on fair,

reasonable and non-discriminatory terms and its failure to do so. Motorola contends that all

of Apple’s counterclaims should be dismissed under Fed. R. Civ. P. 12(b)(1) because they

will not be ripe until the parties’ patent infringement disputes are resolved.

       Ripeness is essentially a question of timing, and depends on whether the plaintiff’s

threatened injury is sufficiently imminent to warrant judicial action.           Regional Rail

Reorganization Act Cases, 419 U.S. 102, 143 (1974). To establish ripeness, plaintiffs must

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demonstrate both (1) the fitness of the issues for judicial decision and (2) the “hardship to

the parties of withholding court consideration.” Abbott Laboratories v. Gardner, 387 U.S.

136, 149 (1967); Metropolitan Milwaukee Association of Commerce v. Milwaukee County,

325 F.3d 879, 882 (7th Cir. 2003).

       The fitness for judicial decision inquiry guards against judicial review of hypothetical

or speculative disputes. Babbitt v. United Farm Workers National Union, 442 U.S. 289,

297 (1979). Legal issues that require little if any further factual development are fit for

review. Wisconsin Central, Ltd. v. Shannon, 539 F.3d 751, 759 (7th Cir. 2008). Motorola

argues that Apple’s counterclaims are not fit for judicial decision because the policies and

commitments to the standards setting organizations upon which Apple seeks relief require

Motorola to license only those patents that are actually essential to the respective standards

at issue in the commitments. Thus, Motorola’s obligation to grant Apple a license will be

triggered only if there is an agreement between the parties or a determination that

Motorola’s patents are “essential” to standards that Apple is implementing in its products.

In other words, Motorola must prove in the patent infringement case, or Apple must concede

in this case, that Apple has infringed Motorola’s patents before Apple is entitled to a license

from Motorola. Motorola reasons that because Apple denies that its products practice any

of the asserted claims of the Motorola patents, Apple’s Cpt., dkt. #1, ¶ 15, n.2, any opinion

by the court regarding Motorola’s licensing obligations would be an advisory one.

       The problem with Motorola’s ripeness argument is that Motorola points to nothing

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in Apple’s complaint, the relevant intellectual property rights policies at issue or any case law

to support its argument that it had no obligation to make a reasonable offer unless and until

infringement or essentiality is established. According to Apple’s complaint, Motorola is

obligated to offer a fair, reasonable and non-discriminatory license to its declared-essential

patents regardless whether the patents have been proven in court to be essential in fact to the

standards adopted by the standards setting organizations or applied in Apple’s products.

       In particular, Apple alleges in its complaint that Motorola declared certain patents as

essential or potentially essential and stated that it would grant fair, reasonable and non-

discriminatory licenses to those patents. Apple’s Cpt., dkt. #1, ¶¶ 71, 89, 99. Neither the

language of the intellectual property policies at issue nor Motorola’s assurances under those

policies suggest that Motorola’s obligation to offer licenses to its patents was contingent

upon the outcome of patent litigation. This makes sense. The policies of the standards

setting organizations become far less useful or effective if a company who has declared its

patents as essential, thereby encouraging the organization to adopt the standard, can then

refuse a fair, reasonable and non-discriminatory license until essentiality is proven, either

through patent infringement litigation or otherwise.

       At least two courts to consider the issue have concluded that claims based on fair,

reasonable and non-discriminatory licensing obligations are not contingent upon the results

of patent infringement suits regarding the same patents. In Nokia Corp. v. Qualcomm, Inc.,

2006 WL 2521328, *1-2 (D. Del. Aug. 29. 2006), the court granted the plaintiff’s motion

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to remand a case seeking declaratory relief and specific performance of a fair, reasonable and

non-discriminatory licensing obligation. The issue in the case was whether the plaintiff’s suit

presented a substantial question of federal patent law such that it could proceed in federal

court.    The court reviewed the allegations and concluded that the case presented no

substantial question of federal patent law. In particular, the court concluded that it was not

necessary “to determine whether the patents at issue are in fact ‘essential’ because Defendant

has already voluntarily declared them essential.           Rather, Plaintiff merely seeks an

interpretation of Defendant’s obligations arising after declaring certain patents essential.”

The court granted the motion to remand the case to state court.

         Similarly in Ericsson Inc. v. Samsung Electronics Co., Ltd., 2007 WL 1202728, *2-3

(E.D. Tex. Apr. 20, 2007), the court concluded that the plaintiff’s contract claim related to

a dispute regarding the defendant’s obligation to offer a reasonable and non-discriminatory

license was separable from the claims for patent infringement. The court stayed resolution

of the patent infringement claims until the breach of contract claim was resolved. Motorola

has cited no cases in which the court concluded that contractual or antitrust claims related

to licensing obligations cannot be resolved before resolution of related patent infringement

suits.

         In this case, the parties dispute whether Motorola is required by contract to make fair,

reasonable and non-discriminatory offers to Apple and whether Motorola has done so.

Apple’s claims are not based on “hypothetical, speculative or illusory disputes,” Wisconsin

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Central, Ltd. v. Shannon, 539 F.3d 751, 759 (7th Cir. 2008); rather, they are based on

allegations of concrete and ongoing injuries that are sufficiently imminent to warrant judicial

action. Regional Rail Reorganization Act Cases, 419 U.S. at 143.

       In addition, Apple may suffer hardship if the court withholds consideration of the

issues presented. Hardship may be found when there may be a “substantial immediate

impact” on the interests of plaintiff as a result of the challenged action.          Hinrichs v.

Whitburn, 975 F.2d 1329, 1335-36 (7th Cir. 1992).               Apple alleges that it invested

significant money and other resources into developing products that are compliant with the

standards adopted by the various standards setting organizations, relying on Motorola’s

commitments that it would license patents that it had declared essential to those standards

on fair, reasonable and non-discriminatory terms. Apple alleges that because Motorola has

refused to offer licenses on fair, reasonable and non-discriminatory terms, Apple is involved

in multiple patent infringement suits, risks losing the ability to sell its products in the market

and is threatened by high royalty rates. These allegations imply that Apple would suffer

hardship if the court dismisses its licensing claims at this time. In sum, at this stage I cannot

conclude that no present dispute exists and that Apple would not be subject to hardship if

its claims were dismissed. Therefore, I will deny Motorola’s motion to dismiss Apple’s

complaint for lack of ripeness.




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2. Adequacy of pleading

       Motorola also moves to dismiss each of Apple’s counterclaims under Fed. R. Civ. P.

12(b)(6) for failure to state a claim upon which relief may be granted. A claim should be

dismissed under Rule 12(b)(6) when the allegations in the complaint, however true, could

not raise a plausible claim of entitlement to relief. Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949

(2009); Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 558 (2007). In ruling on a motion

to dismiss, courts must construe all of the plaintiff’s factual allegations as true and draw all

reasonable inferences in the plaintiff’s favor. Savory v. Lyons, 469 F.3d 667, 670 (7th Cir.

2006). However, courts are not required to accept as true a legal conclusion presented as a

factual allegation. Iqbal, 129 S. Ct. At 1949-50.




a. Breach of contract

       Apple has asserted six separate breach of contract counterclaims, alleging that

Motorola breached the contracts it made with the European Telecommunications Standards

Institute, the Institute of Electrical and Electronics Engineers, the 3G Project and the

Telecommunication Industry Association to license its patents on fair, reasonable and non-

discriminatory terms. Motorola contends that these breach of contract claims should be

dismissed because Apple has failed to plead any of the elements of a breach of contract claim

adequately.

       The initial question is which law applies to the alleged contracts at issue. Apple (a

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California company) is suing Motorola (an Illinois company) for violation of commitments

to the European Telecommunications Standards Institute (which is based in France), the

Institute of Electrical and Electronics Engineers (based in New York) and the

Telecommunication Industry Association (based on Virginia). Neither party undertakes a

choice-of-law analysis.   Although Motorola denies that the contracts are governed by

Wisconsin law, it addresses only Wisconsin law.        Thus, I also apply Wisconsin law.

FutureSource LLC v. Reuters Ltd., 312 F.3d 281, 283 (7th Cir. 2002) (in absence of any

discussion of choice of law issues by parties, court applies law of forum state).

       To state a claim for breach of contract under Wisconsin law, Apple must plead (1) the

existence of a contract creating obligations flowing from Motorola to Apple; (2) a breach of

those obligations; and (3) damages arising from the breach. Northwest Motor Car, Inc. v.

Pope, 51 Wis. 2d 292, 296, 187 N.W.2d 200, 203 (1971); Brew City Redevelopment

Group, LLC v. The Ferchill Group, 2006 WI App 39, ¶ 11, 289 Wis. 2d 795, 807, 714

N.W.2d 582, 588.

       According to Apple, the intellectual property rights policies of the various standards

setting organizations constitute the “offers.” These policies contain requirements concerning

whether and to what extent patentees owning potentially essential patents must commit to

licensing such patents on fair, reasonable and non-discriminatory terms, as well as the

disclosure of patents and patent applications that may be essential to standards. Motorola

accepted the offers by becoming a member of the organizations, agreeing to abide by their

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policies and receiving benefits by participating in the standard development process and

influencing the choice of technology for the standards. The various commitments Motorola

made to the organizations, including its declarations to the European Telecommunications

Standards Institute and the 3G Project, its Letter of Assurance and Intellectual Property

Statements to the Institute of Electrical and Electronics Engineers and its Statement from

the Patent Holder to the Telecommunications Association, are consideration for those

benefits. Thus, in consideration for the benefits that flowed from its membership in the

standards setting organizations, Motorola provided assurances that it would timely disclose

intellectual property and license essential patents on fair, reasonable and non-discriminatory

terms.

         Under Wisconsin law, the constitution, by-laws and resolutions of a voluntary

association may form a binding contract between members of that association. Attoe v.

Madison Professional Policemen’s Association, 79 Wis. 2d 199, 205-6, 255 N.W.2d 489,

492 (1977). In addition, at least three courts have concluded that a member of a standards

setting organization states a breach of contract claim based on a member’s obligation to offer

fair, reasonable and non-discriminatory licenses under the intellectual property policies of

those organizations. Microsoft Corp. v. Motorola, Inc., No. 10-cv-1823-jlr, slip op. at 4-5

(W.D. Wash. May 31, 2011) (holding that Microsoft stated claim for breach of contract for

Motorola’s failure to offer licenses on fair, reasonable and non-discriminatory terms after

promising it would do so to standards setting organization) (attached as exhibit #92-1 in this

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case); Research In Motion Ltd. v. Motorola, Inc., 644 F. Supp. 2d 788, 797 (N.D. Tex.

2008) (holding at motion to dismiss stage that plaintiff stated breach of contract claim based

on defendant’s failure to offer fair, reasonable and non-discriminatory terms as it had

promised European Telecommunications Standards Institute and Institute of Electrical and

Electronics Engineers); ESS Technology, Inc. v. PC-Tel, Inc., 1999 WL 33520483, *4 (N.D.

Cal. Nov. 4, 1999) (holding that third-party beneficiary of contract between standards

setting organization and defendant-essential-patent holder, software manufacturer had

properly stated claim for specific performance of agreement requiring defendant to license

patents on non-discriminatory and reasonable terms); see also Ericsson Inc. v. Samsung

Electronics, Co., 2007 WL 1202728, *1 (E.D. Tex. Apr. 20, 2007) (plaintiff and defendant

asserting claims for breach of contract agreed that licensing obligations were contractual and

bound all members of standards setting organizations).

       However, Motorola contends that the policies at issue in this case are too vague and

indefinite to support a contractual obligation. Under Wisconsin law, contract terms must

be definite enough that the basic obligations of the parties may be ascertained. Goebel v.

National Exchangors, Inc., 88 Wis. 2d 596, 615, 277 N.W.2d 755, 765 (1979) (“An offer

must be so definite in its terms or require such definite terms in the acceptance, that the

promises and performances to be rendered by each party are reasonably certain.”); see also

Management Computer Services v. Hawkins, Ash, Baptie & Co., 206 Wis. 2d 158, 178, 557

N.W.2d 67, 75 (1996). A court cannot specifically enforce an agreement or award damages

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for its breach when it lacks certainty. Witt v. Realist, Inc., 18 Wis. 2d 282, 297, 118

N.W.2d 85, 93 (1962).

       Accepting Apple’s factual allegations as true, I conclude that Apple has pleaded

contractual terms definite enough to constitute enforceable agreements. The European

Telecommunications Standards Institute’s intellectual property rights policy states that its

members “shall use its reasonable endeavors” to inform the organization of essential patents

“in a timely fashion.” Apple’s Cpt., dkt. #1, ¶ 28. In addition, all members are asked to

grant licenses to essential patents on fair, reasonable and non-discriminatory terms and if

they refuse, they must explain their reasons in writing. Id. ¶¶ 30, 31. The Institute will not

adopt a standard incorporating patented technology to which it has not received a licensing

commitment from the owner. Id. ¶ 32. According to the allegations in Apple’s complaint,

Motorola agreed to be bound by these policies when it joined the organization.           The

combination of the policies and Motorola’s assurances to the Institute that it would grant

fair, reasonable and non-discriminatory licenses to the ‘697, ‘898, ‘230 and ‘559 patents

constitute   a   contractual    agreement     between     Motorola    and    the   European

Telecommunications Standards Institute. In addition, because the 3G Project policy requires

its members to abide by the intellectual property policies of the Institute, Motorola’s

membership in the 3G Project created a contractual obligation among the Institute,

Motorola and the 3G Project. Id. ¶ 33, 34.

       Under the Institute of Electrical and Electronics Engineers’s policy, members are to

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submit a “Letter of Assurance” to the Institute of Electrical and Electronics Engineers that

includes a commitment to license essential patents under reasonable and non-discriminatory

terms. Id. ¶¶ 35, 36. A contractual obligation between the Institute and Motorola was

created by this policy, Motorola’s membership in the Institute and Motorola’s Letters of

Assurance and Intellectual Property Statement to the Institute in which it declared the ‘223,

‘712 and ‘193 patents essential to certain standards and stated its willingness to license those

patents on reasonable and non-discriminatory terms. Id. ¶¶ 85-90.

       Finally, the Telecommunication Industry Association’s policy states that the standard

setting process is “made more efficient” if the existence of essential patents is made known

as early as possible. Id. ¶ 39. The Association policy states that companies holding any

essential patents necessary for a standard adopted by the Association must assure the

Association that they will (1) license those essential patents without compensation; or (2)

license those essential patents “to all applicants under terms that are reasonable and non-

discriminatory.” Id. ¶ 42. A contractual relationship arose between Motorola and the

Association under this policy, Motorola’s membership in the Telecommunication Industry

Association, its declaration that the ‘712, ‘193 and ‘697 patents are essential to certain

standards and its assurance to the Association that it would license those patents under

reasonable terms and conditions.

       In sum, Apple’s allegations permit a reasonable inference that these policies are

binding on the members of the organizations. Each policy indicates that it will not adopt

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a standard, or at least will use alternative technology in the standard, if the owner of a

declared-essential patent refuses to offer fair, reasonable and non-discriminatory licensing.

Thus, the policies assume that members will agree to license essential patents on fair,

reasonable and non-discriminatory terms and that once a member makes such a

commitment, it is enforceable.

       Turning to whether Apple has a right to enforce the contracts, Motorola contends that

Apple is neither a party to the contracts nor an intended third-party beneficiary. Becker v.

Crispell-Snyder, Inc., 2009 WI App 24, ¶ 9, 316 Wis. 2d 359, 763 N.W.2d 192 (party

wishing to enforce contract must either be party to contract or third-party beneficiary).

However, Apple’s allegations permit an inference that it has the right to enforce Motorola’s

contractual obligations as a third-party beneficiary. A third-party beneficiary is one whom

the contracting parties intended to “directly and primarily” benefit. Becker, 2009 WI App

24, at ¶ 11 (citing Winnebago Homes, Inc. v. Sheldon, 29 Wis. 2d 692, 699, 139 N.W.2d

606 (1966)). The benefit proven must be direct; an indirect benefit incidental to the

primary contractual purpose is insufficient. Id.

       Apple alleges that the primary purpose of the intellectual property policies of the

standards setting organizations is to protect companies that need to obtain licences to

practice the adopted standards. In other words, prospective licensees of essential patents,

like Apple, are the very parties who are intended to benefit from the existence of fair,

reasonable and non-discriminatory licensing obligations and other similar policies. For

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example, the European Telecommunications Standards Institute policy states that it is an

“objective” of the Institute to “reduce the risk” of an essential patent’s becoming

“unavailable.” Apple’s Cpt., dkt. #1, at ¶ 32. The unavailability of essential patents matters

only to those who wish to practice the standards, such as Apple. Thus, Apple is “a member

of a class of beneficiaries intended by the [contracting] parties to benefit from [the

contract].” Pappas v. Jack O.A. Nelson Agency, Inc., 81 Wis. 2d 363, 371-72, 260 N.W.2d

721 (1978).

       The final question is whether Apple has pleaded sufficiently that Motorola breached

the contracts. Apple contends that Motorola breached the contracts by (1) failing to timely

disclose patents to the European Telecommunications Standards Institute that it later

claimed were essential to certain standards; and (2) failing to license its patents to Apple on

fair, reasonable and nondiscriminatory terms.

       With respect to the first alleged breach, Apple alleges that Motorola was involved in

developing several standards with the European Telecommunications Standards Institute and

the 3G Project, was aware that it had patents or patent applications relevant to the

standards, but failed to disclose the patents until after the standards were adopted. Apple

alleges that if Motorola had disclosed the patents before the standards were adopted and

declared the patents essential to the standards, the members of the Institute and 3G Project

would have considered other viable alternative technologies or declined to incorporate the

aspects of the technical specifications or standards purportedly covered by Motorola’s

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patents. Now, companies who practice the standards must obtain licenses from Motorola

to practice the standards.      These allegations state a claim that Motorola breached its

commitments to the Institute and 3G Project.

       With respect to the second alleged breach, Apple alleges that Motorola has made

royalty demands on Apple that exceeded those made on comparable parties for use of the

declared-essential patents, discriminated against Apple by terminating Qualcomm’s contract

with Motorola solely as to Apple, demanded a rate that was based on the total revenue base

of Apple’s products rather than the revenue from the components that utilize the

technologies of the declared-essential patents, sought to include cross-licenses to certain of

Apple’s non-essential patents as a condition of a licensing agreement and sued Apple when

Apple refused to accede to Motorola’s demands. At this stage of the case, these allegations

are sufficient to imply that Motorola has not honored its promise to license on fair,

reasonable and non-discriminatory terms. Research in Motion Ltd., 644 F. Supp. 2d at 797

(holding that plaintiff met pleading standard for breach of contract claim by alleging that

defendant “demanded of [plaintiff] terms that are unfair, unreasonable, and, on information

and belief, discriminatory”).

       Therefore, I will deny Motorola’s motion to dismiss Apple’s breach of contract claims.




b. Antitrust

       Apple contends that Motorola violated the antitrust laws by making false licensing

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commitments to standards setting organizations and by failing to disclose essential patents

or applications to those organizations until after certain standards were adopted. (The

parties agree that Apple’s claim under the California Business and Professional Code § 17200

is subject to the same pleading requirements as Apple’s claim under § 2 of the Sherman Act.

I follow the parties’ lead and apply the pleading standards for the federal antitrust claim to

both claims.)

       As an initial matter, the parties dispute what pleading standards applied to Apple’s

antitrust claims. At a minimum, every complaint must provide a “short and plain statement

of the claim showing that the pleader is entitled to relief,” Fed. R. Civ. P. 8(a), and contain

“enough facts to state a claim to relief that is plausible on its face,” Twombly, 550 U.S. at

570; see also Iqbal, 129 S. Ct. at 1949. However, Motorola contends that Apple’s antitrust

counterclaim must meet the heightened pleading standards of Fed. R. Civ. P. 9(b) because

the counterclaim is premised upon a course of fraudulent conduct.

       The Court of Appeals for the Seventh Circuit has stated that Rule 9(b) applies

whenever a claim is grounded upon alleged fraudulent conduct.           Kennedy v. Venrock

Associates, 348 F.3d 584, 593-94 (7th Cir. 2003); see also Borsellino v. Goldman Sachs

Group, Inc., 477 F.3d 502, 507 (7th Cir. 2007) (whether Rule 9(b) applies is fact-based

inquiry that depends on nature of plaintiff’s factual allegations). In this case, Apple alleges

in its antitrust counterclaim that Motorola “intentionally ma[de] false and deceptive

F/RAND commitments [and] failed to disclose Declared-Essential Patents in a timely

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manner.” Apple’s Cpt., dkt. #1, at ¶ 165. Apple must plead these allegations of fraudulent

conduct with particularity, identifying the “who, what, when, where and how” of the fraud.

Pirelli Armstrong Tire Corp. Retiree Medical Benefits Trust v. Walgreen Co., 631 F.3d 436,

441-42 (7th Cir. 2011).

       To plead a viable antitrust claim under § 2 of the Sherman Act, Apple must plausibly

allege (1) that Motorola has achieved monopoly power in a relevant market and (2) that it

achieved monopoly power through anti-competitive or exclusionary conduct “as

distinguished from growth or development as a consequence of a superior product, business

acumen, or historic accident.” United States v. Grinnell Corp., 384 U.S. 563, 571 (1966).

Motorola contends that Apple has not alleged that Motorola engaged in anticompetitve

conduct and has not alleged that Motorola has achieved monopoly power in a particular

market. In addition, Motorola contends that Apple’s allegations do not satisfy Rule 9(b)

because Apple has failed to identify who made the allegedly false licensing commitments or

failed to disclose essential patents, when the false commitments or untimely disclosures were

made, the method by which the allegedly false commitments were communicated or the

place the commitments were made.

       Apple’s theory of antitrust liability is fairly novel and has not been considered in this

circuit. However, Apple’s allegations in this case are similar to those made by the plaintiff

in Broadcom Corp. v. Qualcomm, Inc., 501 F.3d 297 (3d Cir. 2007), a case involving two

mobile wireless telephone companies. Broadcom filed suit against Qualcomm, alleging that

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Qualcomm, a member of the European Telecommunications Standards Institute, had

convinced the Institute to incorporate its technology into standards “in reliance on . . .

Qualcomm’s commitment to license that technology on [fair, reasonable and non-

discriminatory] terms.” Id. at 304. Broadcom argued that Qualcomm had later gone back

on its word, and was “witholding favorable pricing,” in order to obtain a bigger market share.

Id.

       The court of appeals stated that “the [licensing] commitments that [standards setting

organizations] required of vendors were intended as a bulwark against unlawful monopoly.”

Id. Alternatively, the court stated, the organizations “might have chosen nonproprietary

technologies for inclusion in the standard” or chosen other ways to prevent the use of

standards from automatically granting monopoly power to essential patent holders. Id. The

court held that “a patent holder’s intentionally false promise to license essential proprietary

technology on [fair, reasonable and non-discriminatory terms], . . . coupled with a [standards

setting organization’s] reliance on that promise . . . and the patent holder’s subsequent

breach of that promise, is actionable anticompetitive conduct.”          Id. at 314; see also

Clamp-All Corp. v. Cast Iron Soil Pipe Institute, 851 F.2d 478, 488 (1st Cir. 1988)

(acknowledging possibility of antitrust claim where firms both prevented standards setting

organization from adopting beneficial standard and did so through “unfair, or improper

practices or procedures”).

       The court’s reasoning in Broadcom applies to the facts alleged by Apple in support

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of its antitrust counterclaim. Apple alleges that Motorola assured the standards setting

organizations that it would offer fair, reasonable and non-discriminatory licenses to all its

essential patents. In addition, Apple alleges that if Motorola had disclosed to the standards

setting organizations that its patents covered the standards, but that it would not offer fair,

reasonable and non-discriminatory licenses to all implementers of those standards, the

organizations’ members may have chosen viable alternative technologies or declined to

incorporate into the standards the functions purportedly covered by Motorola’s patents.

Apple’s Cpt., dkt. #1, ¶¶ 77-78; see also Allied Tube & Conduit Corp. v. Indian Head, Inc.,

486 U.S. 492, 501 (1988) (noting need for private standards setting to be free “from being

biased by members with economic interests in stifling product competition”). By making

false commitments that led to the establishment of worldwide standards incorporating its

own patents and eliminating competing alternative technologies, Motorola has become a

gatekeeper, accruing the power to harm or eliminate competition in the relevant markets if

it so desires. Apple alleges that Motorola achieved its gatekeeper status not through “growth

or development as a consequence of a superior product, business acumen, or historic

accident,” Grinnell, 384 U.S. at 570-71, but through Motorola’s false promises that it would

license its patents on fair, reasonable and non-discriminatory terms. The relevant markets

include the various technologies competing to perform the functions covered by Motorola’s

declared-essential patents for each of the relevant standards. These allegations imply that

Motorola engaged in anticompetitive conduct and has achieved monopoly power.

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       Moreover, Apple has alleged injury to itself and the relevant market. Apple alleges

that it has suffered the threat of being forced to pay exorbitant royalties, the uncertainty

created by Motorola’s refusal to offer a fair, reasonable and non-discriminatory license, the

expense of multiple patent infringement suits by Motorola and injury to Apple’s business and

property, specifically, the threat of imminent loss of profits, loss of current and potential

customers and loss of goodwill and product image. If Motorola licenses only at exorbitant

rates, it will force its competitors to increase prices in the downstream market in order to

make a product. Anago, Inc. v. Tecnol Medical Products, Inc., 976 F.2d 248, 249 (5th Cir.

1992) (holding that “[t]ypical anticompetitive effects include increased prices and decreased

output”).    Thus, Apple’s allegations permit an inference that Motorola’s alleged

anticompetitive conduct and refusal to grant fair, reasonable and non-discriminatory licenses

may raise the costs associated with the manufacture and sale of standards compliant

downstream products. Finally, Apple’s allegations satisfy the heightened pleading standards

of Rule 9(b) by identifying the specific patents that Motorola allegedly failed to disclose, the

specific patents for which Motorola made fair, reasonable and non-discriminatory

commitments, to whom the commitments were made and the dates on which they were

made. Therefore I will deny Motorola’s motion to dismiss Apple’s counterclaims under § 2

of the Sherman Act and the California Business and Professional Code § 17200.




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c. Patent misuse and waiver

       Apple seeks a declaratory judgment that Motorola’s patents are unenforceable as a

result of patent misuse and waiver. As an initial matter, Motorola contends that Apple’s

patent misuse and waiver claims must be dismissed because they are not independent causes

of action, but rather affirmative defenses to a charge of infringement. However, Apple points

out that the Court of Appeals for the Seventh Circuit has allowed a claim of patent misuse

to proceed as an independent equitable cause of action, even before a claim for infringement

has been brought. County Materials Corp. v. Allan Block Corp., 502 F.3d 730, 733-34 (7th

Cir. 2007); Rosenthal Collings Group, LLC v. Trading Technologies International, Inc., 2005

WL 3557947, *6 (N.D. Ill. Dec. 26, 2005) (allowing plaintiff to seek declaratory judgment

of patent misuse as affirmative claim for injunctive relief). Thus, I will not dismiss Apple’s

patent misuse claim on that ground. However, I will dismiss Apple’s waiver claim, as Apple

has not cited any legal authority allowing waiver as a cause of action and I am aware of none.

       To state a claim for patent misuse, Apple must allege facts showing that Motorola has

employed anticompetitive practices in an effort to extend its patent grant beyond its

statutory limits. USM Corp. v. SPS Technologies, Inc., 694 F.2d 505, 510 (7th Cir. 1982);

see also Princo Corp. v. International Trade Commission, 616 F.3d 1318, 1328 (Fed. Cir.

2010) (“What patent misuse is about, in short, is ‘patent leverage,’ i.e., the use of patent

power to impose overbroad conditions on the use of the patent in suit that are not within

the reach of the monopoly granted by the Government.”) As explained in the context of

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Apple’s antitrust claims above, Apple’s allegations support an inference that the license

Motorola seeks to impose on Apple extend beyond the reach of a lawful patent monopoly.

This is sufficient to state a claim for patent misuse.




d. Promissory estoppel

       To survive a motion to dismiss on a promissory estoppel claim, Apple must plead that

Motorola made a promise that it should have reasonably expected to cause Apple to change

its position, and that the promise caused Apple to change position in such a manner that

injustice can be avoided only by enforcing the promise. Hoffman v. Red Owl Stores, Inc.,

26 Wis. 2d 683, 693-94 133 N.W.2d 267, 273-74 (1965). Motorola contends that Apple’s

promissory estoppel claim should be dismissed as inadequately pleaded because Apple has

not alleged that Motorola made any promise to Apple. I disagree.

       Apple alleges that Motorola made promises to the standards setting organizations

through its commitments that it would license any essential patents under fair, reasonable

and non-discriminatory terms. Apple’s Cpt., dkt. #1, ¶¶ 27-45; 118. Apple alleges that the

intended purpose of Motorola’s promises was to induce reliance and that Motorola “knew

or should have reasonably expected that this promise would induce sellers of mobile wireless

devices, like Apple, to develop products compliant with the relevant standards.” Id. ¶ 119.

Apple alleges that it “invested billions of dollars in the applicable technology and developed

and marketed its products and services in reliance on Motorola’s (and others’) promises . .

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. including designing its products and services to be compliant with adopted standards.” Id.

¶ 120. Finally, Apple alleges that it has been harmed as a result of its reasonable reliance on

Motorola’s promises and is threatened by loss of profits, customers, goodwill and product

image, uncertainty in business planning and uncertainty among customers and potential

customers. These facts are sufficient to state a claim for promissory estoppel.




e. Tortious interference with contract

       Apple contends that Motorola unlawfully interfered with Apple’s and Qualcomm’s

contract when Motorola terminated its own contract with Qualcomm solely with respect to

Qualcomm’s business with Apple.        Motorola contends that Apple’s claim for tortious

interference must be dismissed because Apple has pleaded insufficient allegations regarding

the contracts at issue, the harm plaintiff suffered or whether Motorola was justified or

privileged to interfere with Apple and Qualcomm’s contract. To state a claim for tortious

interference, Apple must plead that (1) Apple had a current or prospective contractual

relationship with a third party; (2) Motorola interfered with that relationship; (3) the

interference was intentional; (4) a causal connection exists between Motorola’s interference

and Apple’s damages; and (5) Motorola was not justified or privileged to interfere. Wolnak

v. Cardiovascular & Thoracic Surgeons of Central Wisconsin, 2005 WI App 217, ¶ 14, 287

Wis. 2d 560, 574, 706 N.W.2d 667, 675 (citing Duct-O-Wire Co. v. United States Crane,

Inc., 31 F.3d 506, 509 (7th Cir. 1994)).

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       Accepting Apple’s allegations as true, I conclude that Apple has included sufficient

facts in its complaint to state a claim for tortious interference. Apple alleges that under a

December 2009 contract, it agreed to purchase chipsets from Qualcomm incorporating

technology that Qualcomm licensed from Motorola.          Apple’s Cpt., dkt. #1, ¶ 46.    In

addition, Apple alleges that on January 11, 2011, the same day that Apple announced the

Verizon iPhone, Motorola sent a letter to Qualcomm, identifying Apple as Qualcomm’s

customer and stating its intent to terminate any and all license covenant rights with respect

to Apple, effective February 10, 2011. Id. ¶ 48. These allegations allow an inference that

Motorola was aware of Qualcomm’s contract with Apple. See also id. ¶ 195 (“Motorola

knew of the [Apple-Qualcomm] contract and intended to interfere with the performance of

this contract.”)

       Also, Apple alleges that it “made substantial investments in the research, design,

manufacture, and marketing of wireless communication handsets . . . [including its] CDMA-

2000-compliant version of its iPhone 4, which will utilize Qualcomm components” and that

Motorola’s selective termination of the Motorola-Qualcomm contract “will cause harm to

Apple’s business and/or property” and will “disadvantage Apple in relation to the other

customers of Qualcomm who are Apple’s competitors and are unaffected and can continue

to receive their bargained for products.” Id. ¶¶ 47, 50, 51, 196. This is sufficient to plead

that Motorola’s actions have harmed Apple. Duct-O-Wire Co., 31 F.3d at 509 (holding that

plaintiff had shown harm by claiming deprivation of sales by competitor-defendant);

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Magnum Radio, Inc. v. Brieske, 217 Wis. 2d 130, 140, 577 N.W.2d 377, 380-81 (Ct. App.

1998) (holding that plaintiff had properly stated tortious interference claim where

defendant’s actions made performance of underlying contract “more expensive or

burdensome”).

       Finally, Apple’s conclusory allegation that “Motorola had no basis under its

agreements with Qualcomm or otherwise for this selective, partial termination,” id. ¶ 49, is

sufficient at this stage because the ultimate burden for demonstrating privilege is on

Motorola, not Apple. Wolnak, 2005 WI App 217, ¶ 27 (citing WIS JI-CIVIL 2780); Tele-

Port, Inc. v. Ameritech Mobile Communications, Inc., 49 F. Supp. 2d 1089, 1095 (E.D. Wis.

1999) (explaining that this element “may not even need to be pled by plaintiff because

defendant bears the burden on that matter”). Therefore, I will deny Motorola’s motion to

dismiss Apple’s claim for tortious interference with contract.




                     B. Motorola’s Motion to Sever and Consolidate

       Under Rule 42 of the Federal Rules of Civil Procedure, a court may bifurcate claims

“for convenience, to avoid prejudice, or to expedite and economize.” Fed. R. Civ. P. 42(b).

In addition, courts may consolidate separate “actions involving a common question of law

or fact” pending before it. Fed. R. Civ. P. 42(a). “It is within the court’s broad managerial

discretion to prevent ‘unnecessary duplication of effort in related cases’ through

34consolidation or other means.” SanDisk Corp. v. Phison Electronics Corp., 538 F. Supp.

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2d 1060, 1068 (W.D. Wis. 2008) (quoting E.E.O.C. v. G-K-G, Inc., 39 F.3d 740, 745 (7th

Cir. 1994)).

       Motorola contends that because all of the essential patents at issue in the ‘178 case

have been asserted in the ‘661 and ‘662 infringement actions, the ‘178 case should be

severed and consolidated with the ‘661 and ‘662 cases. In particular, Motorola contends

that Apple’s estoppel, waiver, breach of contract, declaratory judgment, antitrust and unfair

competition claims involving the ‘712, ‘230, ‘193, ‘559 and ‘898 patents should be severed

from the ‘178 case and consolidated with the ‘662 case in which Motorola has asserted

infringement claims regarding those five patents. In addition, Apple’s estoppel, waiver,

breach of contract, declaratory judgment, antitrust and unfair competition claims involving

the ‘223 and ‘697 declared-essential patents should be severed from the ‘178 case and

consolidated with the ‘661 case in which Motorola has asserted infringement claims

regarding those two patents. Apple’s claims involving the ‘223 and ‘697 patents would be

stayed along with the rest of the ‘661 case. In fact, Motorola contends that Apple’s claims

involving the ‘223 and ‘697 patents must be stayed because they are subject to the

mandatory stay provision in 28 U.S.C. § 1659.

       For its part, Apple contends that the case cannot be severed for several reasons and

rather, should proceed on an accelerated schedule so that the claims in this case can be

decided before the patent infringement claims in the ‘661 and ‘662 cases are resolved.

According to Apple, resolution of its breach of contract claims will “alleviate the need for

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resolution of the infringement actions related to the essential patents.” Dkt. #86. (Apple’s

argument assumes that it will succeed on its breach of contract claims, resulting in a license

to Motorola’s patents and mooting Motorola’s infringement claims.) Essentially, both

parties want their own affirmative claims adjudicated first and believe that their proposed

organization plan will allow them to achieve that.

       As an initial matter, I am not persuaded that the mandatory stay provision in 28

U.S.C. § 1659 applies to Apple’s claims in this case. Under that provision, “at the request

of a party to the civil action that is also a respondent in the proceeding before the

[International Trade] Commission, the district court shall stay . . . proceedings in the civil

action with respect to any claim that involves the same issues involved in the proceeding

before the Commission” until the Commission’s determination becomes final. 28 U.S.C. §

1659(a). The provision does not apply in this case, for two reasons. First, only a party that

is a respondent in the Commission may seek a stay under § 1659. Motorola is not the

respondent in the Commission; Apple is. Nno claims related to the ‘223 and ‘697 patents

or any other subject are pending against Motorola in the Commission’s ‘745 investigation.

       Second, as I explained in a previous case, § 1659 was enacted to protect importers and

producers from identical patent claims and defenses. SanDisk Corp., 538 F. Supp. 2d at

1065. This means that a stay is required only when parallel claims involving the same issues

about the same patent are pending in the Commission and in the district court. In this case,

Apple’s breach of contract and antitrust claims are pending only in this court; they are not

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pending before the Commission. The patent infringement claims being litigated in the

Commission do not involve the same issues as Apple’s non-patent counterclaims asserted in

this case. In addition, although Apple has asserted a defense in the Commission of unclean

hands related to Motorola’s licensing commitments to standards setting organizations, the

elements of that defense are different from the issues that must be resolved with respect to

Apple’s breach of contract and antitrust counterclaims. Thus, although some of the facts

relevant to Apple’s unclean hands defense will overlap with the claims it is asserting in this

case, the legal issues are not the same. Therefore, any decision to sever, consolidate and stay

Apple’s claims in this case would be based on the court’s discretionary powers and Fed. R.

Civ. P. 42.

       Severing this case and consolidating it with the ‘661 and ‘662 cases would provide

some benefits, assuming the court were willing to stay discovery and decision on Apple’s non-

patent counterclaims. Although those counterclaims involve a host of issues not related to

Motorola’s infringement claims, discovery into these issues may ultimately be unnecessary

because the resolution of Motorola’s patent infringement claims could completely dispose

of these counterclaims. In addition, Apple’s counterclaims have factual overlap with some

of the defenses it has asserted in the patent infringement case, including its estoppel defenses

based on Motorola’s alleged failure to license its patents on fair, reasonable and non-

discriminatory terms.

       That being said, I am not convinced that severing this case will result in increased

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efficiency overall. As an initial matter, Motorola has not explained how Apple’s claims can

be separated cleanly into either the ‘661 or ‘662 case. For example, Apple’s claim for

tortious interference seems to be unrelated to the patent infringement cases and it would

make no sense to consolidate it with one of the patent infringement cases. Thus, rather than

eliminate the 11-cv-178 case, severance would merely spread Apple’s claims into three cases.

       In addition, I concluded in the context of the ripeness discussion above that the

primary factual and legal questions necessary to resolve Apple’s counterclaims are distinct

from those necessary to resolve the patent infringement claims. Further, the facts and legal

issues relevant to the parties’ disputes regarding whether Motorola has offered Apple a

license on fair, reasonable and non-discriminatory terms cannot necessarily be separated on

the basis of the particular patent at issue. It became clear at the preliminary injunction

hearing that Motorola’s license offers to Apple are not based on individual patents; rather,

Motorola offers to license its essential patents as a package deal. Presumably, this package

includes patents at issue in both the ‘661 and ‘662 cases. Thus, it would be difficult to

determine whether Motorola has made a fair, reasonable and non-discriminatory offer to

Apple with respect to the patents in the ‘662 case, without considering the inclusion of the

patents in the ‘661 case as part of the offer. Similarly, Apple’s antitrust allegations suggest

that Motorola has obtained a monopoly in the relevant markets by its ownership of several

declared-essential patents. The facts relevant to the antitrust claim will necessarily include

facts regarding Motorola ownership and licensing offers related to patents in both the ‘661

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and ‘662 cases. For these reasons, I will deny Motorola’s motion to sever and consolidate

this case.




                                         ORDER

       IT IS ORDERED that

       1. Defendant Motorola Mobility, Inc.’s motion to dismiss, dkt. #33, is GRANTED

with respect to plaintiff Apple Inc.’s claim of waiver and DENIED in all other respects.

Plaintiff’s claim of waiver is DISMISSED for failure to state a claim upon which relief may

be granted.

       2. Defendant’s motion to sever and consolidate, dkt. #39, is DENIED.

       Entered this 7th day of June, 2011.

                                          BY THE COURT:
                                          /s/
                                          BARBARA B. CRABB
                                          District Judge




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